            Case 6:22-bk-11143-SY                             Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                                     Desc
                                                               Main Document    Page 1 of 12
 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email address                FOR COURT USE ONLY
 Rabin J. Pournazarian 186735
 Price Law Group, APC
 6345 Balboa Blvd. Suite 247
 Encino, CA 91316
 818-995-4540 Fax: 818-995-9277
 California State Bar Number: 186735 CA
 rabin@pricelawgroup.com




      Individual appearing without attorney
      Attorney for: Debtor

                                                            UNITED STATES BANKRUPTCY COURT
                                                             CENTRAL DISTRICT OF CALIFORNIA

 In re
         Karina Melendez                                                                             CASE NO.: 6:22-bk-11143-SY
                                                                                        Debtor(s).   CHAPTER 13




                                                                                                      MOTION UNDER LBR 3015-1(n) AND (w)
                                                                                                      TO MODIFY PLAN OR SUSPEND PLAN
                                                                                                                 PAYMENTS

                                                                                                                          [No Hearing Required]



1.   The Debtor hereby moves this court to modify the confirmed Chapter 13 Plan or suspend plan payments, as set forth in detail
     below.

2.   The purpose of this motion is to (check all that apply):
         Cure the delinquency.
         Address the expiration of the plan.
         Cure the infeasibility of the plan.
         Modify the amount of the plan payment, the length of the plan and/or the percentage to be paid to unsecured creditors
         because of a change in financial circumstances.

3. Terms of original confirmed Chapter 13 plan:
   The Order Confirming Plan was entered on 8/3/2022 .
   Plan payment amount(s): $ 957.00 per month for month 1, $500.00 per month for months 2-3, then $675.00 per month for
months 4-60.
   Length of plan: 60 months.
   Percentage paid to Class 5 general unsecured creditors: 55 %.

4.   There have been    0   previous modification or suspension orders.
     Plan payments have been suspended for     months and/or the plan has been extended for                                  months.

              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                                             Page 1           F 3015-1.05.MOTION.MODIFY.SUSPEND
Case 6:22-bk-11143-SY   Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38   Desc
                         Main Document    Page 2 of 12
Case 6:22-bk-11143-SY   Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38   Desc
                         Main Document    Page 3 of 12




                   EXHIBIT “A”
              Case 6:22-bk-11143-SY                  Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                                    Desc
                                                      Main Document    Page 4 of 12


Fill in this information to identify your case:

Debtor 1                      Karina Melendez

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               6:22-bk-11143-SY                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            School Bus Driver
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Murrieta Valley USD

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                   Murietta, CA

                                             How long employed there?         9 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         4,209.45        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,209.45               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case 6:22-bk-11143-SY                  Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                                      Desc
                                                   Main Document    Page 5 of 12

Debtor 1   Karina Melendez                                                                       Case number (if known)    6:22-bk-11143-SY


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      4,209.45       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        333.47   $                   N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $        266.75   $                   N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                   N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                   N/A
     5e.    Insurance                                                                     5e.        $         52.16   $                   N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                   N/A
     5g.    Union dues                                                                    5g.        $          0.00   $                   N/A
     5h.    Other deductions. Specify: Local Dues                                         5h.+       $          2.00 + $                   N/A
            State Dues                                                                               $         46.95   $                   N/A
            Texas Life Ins.                                                                          $         66.14   $                   N/A
            Victory Club                                                                             $          5.00   $                   N/A
            American Fidelity                                                                        $        129.82   $                   N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            902.29       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,307.16       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,307.16 + $            N/A = $         3,307.16
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         3,307.16
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
Case 6:22-bk-11143-SY   Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38   Desc
                         Main Document    Page 6 of 12
Case 6:22-bk-11143-SY   Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38   Desc
                         Main Document    Page 7 of 12
           Case 6:22-bk-11143-SY                     Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                                            Desc
                                                      Main Document    Page 8 of 12


Fill in this information to identify your case:

Debtor 1                 Karina Melendez                                                                   Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           6:22-bk-11143-SY
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             13                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              25.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
        Case 6:22-bk-11143-SY                         Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                                               Desc
                                                       Main Document    Page 9 of 12

Debtor 1     Karina Melendez                                                                           Case number (if known)      6:22-bk-11143-SY

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                                75.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Cable television/Internet                                                          6d.   $                                75.00
             Cell phone                                                                                            $                               140.00
7.    Food and housekeeping supplies                                                           7.                  $                               650.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                75.00
10.   Personal care products and services                                                    10.                   $                                50.00
11.   Medical and dental expenses                                                            11.                   $                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  130.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     2,620.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     2,620.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,307.16
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,620.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 687.16

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
         Case 6:22-bk-11143-SY                    Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                                       Desc
                                                  Main Document    Page 10 of 12



                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
6345 Balboa Blvd. Suite 247
Encino, CA 91316

A true and correct copy of the foregoing document entitled (specify): Motion Under Local Bankruptcy Rule 3015-1(n) and (w) To
Modify Plan or Suspend Plan Payments will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 7/10/2023       , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:
 CHAPTER 13 TRUSTEE: Rod Danielson (TR), notice-efile@rodan13.com
ATTORNEY FOR DEBTOR: Rabin J Pournazarian, enotice@pricelawgroup.com
UNITED STATES TRUSTEE (RS), ustpregion16.rs.ecf@usdoj.gov


                                                                                     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 7/10/2023 , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.



                                                                                     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
7/10/2023                    Ashley Johnson                                             /s/ Ashley Johnson
Date                         Printed Name                                               Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                          Page 3                    F 3015-1.05.MOTION.MODIFY.SUSPEND
                Case 6:22-bk-11143-SY   Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38 Desc
Label Matrix for local noticing         Riverside
                                        Main      Division
                                               Document    Page 11 of 12   Altura Credit Union
0973-6                                  3420 Twelfth Street,               2847 Campus Pkwy
Case 6:22-bk-11143-SY                   Riverside, CA 92501-3819           Riverside CA 92507-0906
Central District of California
Riverside
Mon Jul 10 14:19:07 PDT 2023
Altura Credit Union                     (p)ATLAS ACQUISITIONS LCC          Capital One
Attn: Bankruptcy                        492C CEDAR LANE SUITE 442          Attn: Bankruptcy
2847 Campus Parkway                     TEANECK NJ 07666-1713              P.O. Box 30285
Riverside, CA 92507-0906                                                   Salt Lake City, UT 84130-0285


Capital One Bank (USA), N.A.            Comenity Bank/Victoria Secret      Comenitycapital/Ulta
by American InfoSource as agent         Attn: Bankruptcy                   Attn: Bankruptcy Dept
PO Box 71083                            Po Box 182125                      Po Box 182125
Charlotte, NC 28272-1083                Columbus, OH 43218-2125            Columbus, OH 43218-2125


(p)CREDIT CONTROL CORPORATION           Curacao                            EDD - State of California
ATTN CREDIT CONTROL CORPORATION         1605 West Olympic Boulevard        Employment Development Department
11821 ROCK LANDING DR                   Suite 700                          P.O. Box 826218
NEWPORT NEWS VA 23606-4225              Los Angeles, CA 90015-3832         Sacramento, CA 94230-6218


Foothill Credit Union                   Foothill FCU                       Hector Melendez
30 S First Ave                          Attn: Bankruptcy                   33143 Zellar Street
Arcadia CA 91006-3604                   928 N Citrus Ave                   Lake Elsinore, CA 92530-5738
                                        Covina, CA 91722-2737


(p)INTERNAL REVENUE SERVICE             (p)JEFFERSON CAPITAL SYSTEMS LLC   Kohls/Capital One
CENTRALIZED INSOLVENCY OPERATIONS       PO BOX 7999                        Attn: Credit Administrator
PO BOX 7346                             SAINT CLOUD MN 56302-7999          Po Box 3043
PHILADELPHIA PA 19101-7346                                                 Milwaukee, WI 53201-3043


LVNV Funding, LLC                       NAVY FEDERAL CREDIT UNION          Navy FCU
Resurgent Capital Services              P.O.BOX 3000                       Attn: Bankruptcy
PO Box 10587                            MERRIFIELD, VA 22119-3000          P.O. Box 3000
Greenville, SC 29603-0587                                                  Merrifield, VA 22119-3000


OneMain Financial                       Plaza Services, LLC                Quantum3 Group LLC as agent for
Attn: Bankruptcy                        PO BOX 1931                        Comenity Bank
Po Box 3251                             Burlingame, CA 94011-1931          PO Box 788
Evansville, IN 47731-3251                                                  Kirkland, WA 98083-0788


Quantum3 Group LLC as agent for         Synchrony Bank/Sams                United States Trustee (RS)
Comenity Capital Bank                   Attn: Bnakruptcy                   3801 University Avenue, Suite 720
PO Box 788                              Po Box 965060                      Riverside, CA 92501-3255
Kirkland, WA 98083-0788                 Orlando, FL 32896-5060


Karina Melendez                         Rabin J. Pournazarian              Rod Danielson (TR)
33143 Zellar Street                     6345 Balboa Blvd., Suite 247       3787 University Avenue
Lake Elsinore, CA 92530-5738            Encino, CA 91316-1580              Riverside, CA 92501-3332
                Case 6:22-bk-11143-SY               Doc 66 Filed 07/10/23 Entered 07/10/23 15:28:38                           Desc
                                                    Main Document    Page 12 of 12
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Atlas Acquisitions LLC                               Credit Control Corporation                           IRS
on behalf of UHG I LLC                               Attn: Bankruptcy                                     Department of Treasury
492C Cedar Lane, Ste 442                             Po Box 120570                                        Fresno, CA 93888-0025
Teaneck, NJ 07666                                    Newport News, VA 23612


Jefferson Capital Systems LLC                        (d)Jefferson Capital Systems, LLC
Po Box 7999                                          Attn: Bankruptcy
Saint Cloud MN 56302-9617                            16 Mcleland Road
                                                     Saint Cloud, MN 56303




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Navy Federal Credit Union                         End of Label Matrix
P.O. Box 3000                                        Mailable recipients    29
Merrifield, VA 22119-3000                            Bypassed recipients     1
                                                     Total                  30
